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SANFORD P. LEVINE                                                                     Office phone (203) 397-1200
STATE MARSHAL                                                                         Pager        (203) 784-3600
P.O. Box 4020
Woodbridge, CT 06525-4020


                                           MARSHAL'S COURT RETURN


STATE OF CONNECTICUT )
                     ) SS: NEW HAVEN                                                          JULY18, 2017
COUNTY OF NEW HAVEN )


Then and there by virtue hereof and by the direction of the Plaintiffs attorney, I left with and in the hands of the within
named Defendant(s):

         JULY 18, 2017, YALE UNIVERSITY, 105 WALL STREET, NEW HAVEN, CT 0611, ACCEPTED BY
         HAROLD ROSE, ASSOCIATE GENERAL COUNSEL

With a true and attested copy of the original SUMMONS IN A CIVIL ACTION (UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT), COMPLAINT, ORDER ON PRETRIAL DEADLINES, ELECTRONIC FILING
ORDER, NOTICE REGARDING ELECTRONIC FILING, STANDING PROTECTIVE ORDER, EXHIBIT A,
CHAMBER PRACTICES, NOTICE TO PARTIES RE INITIAL DISCOVERY PROTOCOLS FOR EMPLOYMENT
CASES ALLEGING ADVERSE ACTIONS, NOTICE TO COUNSEL AND PRO SE PARTIES, NOTICE TO PARTIES
REGARDING DISCOVERY DISPUTES, JOINT TRIAL MEMORANDUM ORDER, INSTRUCTIONS RE
DISCLOSURE STATEMENT, AND TIPS FOR SUCCESSFUL CM/ECF EFILING, with my doings thereon endorsed.

The within and foregoing is the original SUMMONS IN A CIVIL ACTION (UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT), COMPLAINT, ORDER ON PRETRIAL DEADLINES, ELECTRONIC FILING
ORDER, NOTICE REGARDING ELECTRONIC FILING, STANDING PROTECTIVE ORDER, EXHIBIT A,
CHAMBER PRACTICES, NOTICE TO PARTIES RE INITIAL DISCOVERY PROTOCOLS FOR EMPLOYMENT
CASES ALLEGING ADVERSE ACTIONS, NOTICE TO COUNSEL AND PRO SE PARTIES, NOTICE TO PARTIES
REGARDING DISCOVERY DISPUTES, JOINT TRIAL MEMORANDUM ORDER, INSTRUCTIONS RE
DISCLOSURE STATEMENT, AND TIPS FOR SUCCESSFUL CM/ECF EFILING with my doings thereon endorsed.




                                                                  ATT: @.,.--
                                                                 SANFORD P. LEVINE
                                                                 STATE MARSHAL
                                                                 AN INDIFFERENT PERSON

FEES:
Service              $ 70.00
Travel                    22.54
Copies                    60.00
Endorsements                .80
TOTAL               $ 153.34
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